Case 2:21-cv-09318-JDE Document 23 Filed 07/08/22 Page 1 of 1 Page ID #:53




 1
 2
 3
 4
 5
 6
 7
 8                      UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10                              WESTERN DIVISION
11   JASON DUNCAN,                         ) Case No.: 2:21-cv-09318-JDE
12                                         )
                 Plaintiff,                )
13        vs.                              ) JUDGMENT OF REMAND
14                                         )
     KILOLO KIJAKAZI, Acting               )
15
     Commissioner of Social Security,      )
16                                         )
17
                 Defendant.                )

18
           The Court having approved the parties’ Stipulation to Voluntary
19
     Remand (Dkt. 20, “Stipulation to Remand”) and entered an Order of Remand,
20
           IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the
21
     above-captioned action is remanded to the Commissioner of Social Security
22
     for further proceedings consistent with the Stipulation to Remand.
23
24
25   DATED: July 08, 2022
26                                       JOHN D. EARLY
                                         United States Magistrate Judge
27
28
